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UNITED sTATEs DIsTRiCT CoURT 5 '
wEsTERN DISTRICT 0F TENNESSEE ',‘_.` .,L_ !__

    

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Western Division . t ¢_..
UNITED STATES OF AMERICA ing m J§|::; fm
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"’S' ease No. 2:05cr20139-1M1

SYLVESTER CRAWFORD

 

ORDER OF DETENT|ON PEND|NG TRIAL
FlNDlNGS
In accordance with the Bail Reform Act, 18 U.S.C. § 3142(1`), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

The defendant makes no application for release at this time. A motion for conditions
of release and a detention hearing may be filed at a later date.

DlRECT|ONS REGARD|NG DETENT|ON

SYLVESTER CRAWFORD is committed to the custody of the Attorney General or his designated
representative for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or
serving sentences or being held in custody pending appeal. SYLVESTER CRAWFORD shall be afforded a
reasonable opportunity for private consultation with defense counsel On order of a Court of the United States or on
request of an attorney for the government, the person in charge of the corrections facility shall deliver the Defendant
to the United States marshal for the purpose of an appearance in connection with a Court proceeding

/_,,__
Date; May25,2005 <__§»’7 /AM/fv d/é`v¢./

S. THOMAS ANDERSON
UNITED S'I`ATES MAGISTRATE JUDGE

UNITED sTATE DISTRIC COURT - wTERN D's'TRCT oFTENNESSEE

    

Notice of Distribution

This notice confirms a copy of the document docketed as number 15 in
case 2:05-CR-20139 was distributed by faX, mail, or direct printing on
May 26, 2005 to the parties listed.

 

 

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Honorable J on l\/lcCalla
US DISTRICT COURT

